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       HEATHER E. WILLIAMS, #122664
1    Federal Defender
     MATTHEW C. BOCKMON, #161566
2    Assistant Federal Defender
     Designated Counsel for Service
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4
     Attorneys for Defendant
5    JAMES SMALLWOOD
6
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8
                                          UNITED STATES DISTRICT COURT
9
                                     EASTERN DISTRICT OF CALIFORNIA
10
                                                     )
11   UNITED STATES OF AMERICA,                       )   Case No. 2:17-cr-041 TLN
                                                     )
12                   Plaintiff,                      )   UNOPPOSED REQUEST FOR TEMPORARY
                                                     )   MODIFICATION OF CONDITIONS OF
13          v.                                       )   RELEASE
                                                     )
14   JAMES SMALLWOOD,                                )
                                                     )
15                   Defendant.                      )
                                                     )
16
17           The defendant, JAMES SMALLWOOD, respectfully requests that this Court temporarily
18   modify the conditions of his release (#10) to allow him to attend an MRI appointment that is
19   scheduled for May 11, 2017 at 1:30 p.m. in Vacaville, CA.
20           Specifically, he asks that this Court lift the location monitoring requirement between
21   from 11:00 a.m. to 4:00 p.m. on May 11, 2017. Mr. Smallwood will meet with Pretrial Services
22   Officer, Renee Basurto, at her office on May 11, 2017. She is requesting he return to her office
23   by 4:00 p.m. to have the transmitter put back on.
24           Mr. Smallwood is currently in compliance with the conditions of his release.
25           The Assistant United States Attorney on this case, Owen Roth, has graciously indicated
26   he has no objection to this request.
27
28
     !Unexpected    EndforofTemporary
      Stipulated Request     FormulaModification         -1-
      of Conditions of Pretrial Release
       Case 2:17-cr-00041-TLN Document 25 Filed 05/09/17 Page 2 of 3



1    DATED: May 8, 2017                                  Respectfully submitted,
2                                                        HEATHER E. WILLIAMS
                                                         Federal Defender
3
                                                         /s/ Linda C. Allison for
4
                                                         MATTHEW C. BOCKMON
5                                                        Assistant Federal Defender
                                                         Attorneys for Defendant
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     !Unexpected    EndforofTemporary
      Stipulated Request     FormulaModification   -2-
      of Conditions of Pretrial Release
       Case 2:17-cr-00041-TLN Document 25 Filed 05/09/17 Page 3 of 3


                                                   ORDER
1
2            The Court hereby orders Condition #10 of Mr. Smallwood’s pretrial release be
3    temporarily modified. The location monitoring condition (Condition #10) shall be lifted from
4    11:00 a.m. until 4:00 p.m. on May 11, 2017. This condition shall be reinstated at 4:00 p.m. on
5    May 11, 2017.
6
     Dated: May 9, 2017
7                                                    _____________________________________
8                                                    CAROLYN K. DELANEY
                                                     UNITED STATES MAGISTRATE JUDGE
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28
     !Unexpected    EndforofTemporary
      Stipulated Request     FormulaModification    -3-
      of Conditions of Pretrial Release
